        Entered on Docket January 25, 2019
                                                     Below is the Order of the Court.

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 2                                                   Marc Barreca
                                                     U.S. Bankruptcy Judge
 3                                                   (Dated as of Entered on Docket date above)

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12                                UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON
13                                           AT SEATTLE

14

15    In Re:
                                                               Case No:      12-11284-MLB
16    DEMETRIUS BERTRAND DICKERSON, SR.,
                                                               ORDER DENYING
17
                                                               MOTION FOR SANCTIONS FOR
18                                      Debtor                 DISCHARGE VIOLATION

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               THIS MATTER came before the Court for an evidentiary hearing on December 13,
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      2018 on the Debtor’s Motion for Sanctions for Discharge Violation (Dkt. No. 24).
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               On January 18, 2019 the Court entered written Findings of Fact and Conclusions of Law
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23    (Dkt. No. 102) which the Court hereby incorporates by reference pursuant to FRBP 7052 and

24    for the reasons stated therein, it is hereby

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                                                                                  JAMES E. DICKMEYER, PC
     Order Denying Motion for Sanctions- 1                                      121 Third Avenue PO Box 908
                                                                               Kirkland, Washington 98083-0908
                                                                                         (425) 889-2324
     Case 12-11284-MLB           Doc 104     Filed 01/25/19    Ent. 01/25/19 13:12:44             Pg. 1 of 2
 1
              ORDERED the Debtor’s Motion for Sanctions for Discharge Violation (Dkt. No. 24) is
 2
      DENIED.
 3
                                               /// End of Order ///
 4

 5    Presented By:
 6
      James E. Dickmeyer, PC
 7

 8    By /s/ James E. Dickmeyer
        James E. Dickmeyer WSBA #14318
 9      121 Third Avenue PO Box 908
        Kirkland WA 98083-0908
10      (425) 889-2324
        Attorney for Merchants Credit Corporation
11
      Approved as to Form:
12

13    HENRY & DEGRAAFF, PS

14
      By /s/ Christina L Henry
15      Christina L Henry, WSBA #31273
        150 Nickerson St, Ste 311
16      Seattle, WA 98109
        (206) 330-0595
17      Attorney for the Debtor
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                                                                              JAMES E. DICKMEYER, PC
     Order Denying Motion for Sanctions- 2                                  121 Third Avenue PO Box 908
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